           Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 1 of 10




                        IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF MARYLAND

MATTHEW CLARK KRAMER,                            *
2100 East Bengal Boulevard                       *
Apt. B203                                        *
Cottonwood Heights, Utah 84121                   *
                                                 *
            Plaintiff                            *
                                                 *
v.                                               *
                                                 *
GROUND ZERO CRYPTO, LLC                          *
2148 Baltimore Avenue                            *   Civil Action No. ________________
Finksburg, Maryland 21048                        *
                                                 *
     Serve on:    John Schieve, Resident Agent   *
                  2148 Baltimore Avenue          *
                  Finksburg, Maryland 21048      *
                                                 *
PETER CAMPBELL, a/k/a Gliese                     *
259 Ocean House Road                             *
Cape Elizabeth, Maine 04107                      *
                                                 *
     and                                         *
                                                 *
JOSEPH BERGVINSON, a/k/a Hashburglar             *
24977 72nd Avenue                                *
Langley, British Columbia V4W1J1                 *
Canada                                           *
                                                 *
     and                                         *
                                                 *
HENRY HE, a/k/a Peach                            *
4709 Skillman Avenue, Apt. E2                    *
Long Island City, New York 11104                 *
                                                 *
     and                                         *
                                                 *
CHRISTOPHER NEIL DAVENPORT                       *
2148 Baltimore Avenue                            *
Finksburg, Maryland 21048                        *
             Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 2 of 10




                                                         *
    and                                                  *
                                                         *
 MATTHEW DELORENZO,                                      *
 2905 Claremont Road                                     *
 Raleigh, North Carolina 27608                           *
                                                         *
              Defendants.                                *
                                                         *
 * * * * * * * * * * * * * * * * *                       *


                              COMPLAINT AND JURY DEMAND

        Plaintiff Matthew Kramer, through his undersigned counsel, file this Complaint against

Defendants Ground Zero Crypto, LLC, Peter Campbell, Joseph Bergvinson, Christopher Neil

Davenport, Matthew DeLorenzo and Henry He as follows:

                             PARTIES, JURISDICTION & VENUE

        1.       Plaintiff Matthew Clark Kramer is an individual residing in Salt Lake County,

Utah.

        2.       Defendant Ground Zero Crypto, LLC (“Ground Zero”) is a Maryland limited

liability company formed on February 18, 2022 with its principal place of business in Finksburg,

Maryland.

        3.       Defendant Peter Campbell is an individual citizen of the State of Maine.

        4.       Defendant Joseph Bergvinson is an individual citizen of the province of British

Columbia.

        5.       Defendant Henry He is an individual citizen of the State of New York.

        6.       Defendant Christopher Neil Davenport is an individual citizen of the State of

Maryland.
                                                  2
            Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 3 of 10




       7.       Defendant Matthew DeLorenzo is an individual citizen of the State of North

Carolina.

       8.       Jurisdiction is proper in this Court under 28 U.S.C. § 1332 insofar as Plaintiffs

and Defendants are of completely diverse citizenship and insofar as the amount in controversy in

this case exceeds $75,000.00, exclusive of interest and costs.

       9.       Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) insofar as principal

Defendant Ground Zero resides in Carroll County, Maryland.

                                  FACTUAL ALLEGATIONS

       10.      Plaintiff Matthew Clark Kramer (“Kramer”) has an interest in the evolving

technology related to cryptocurrency.

       11.      In August 2021, Kramer conceived a business venture involving an automated

market maker protocol to facilitate token swaps using smart contracts and tokens.

       12.      Kramer named the business venture “SaucerSwap.”

       13.      On September 23, 2021, Kramer started a private social media group identified as

“SaucerSwap” to discuss and further develop his business concept.

       14.      Kramer developed basic branding concepts for the business venture, including the

SaucerSwap name and the initial logo design. On October 11, 2021, he additionally hired and

paid an independent contractor to further design the logo, font, colors and other branding items.

       15.      On October 15, 2021, Kramer created a Reddit for SaucerSwap.

       16.      On October 17, 2021, Kramer created a SaucerSwap Twitter account.

       17.      On October 28, 2021, Kramer created a SaucerSwap Instagram Account.



                                                  3
          Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 4 of 10




       18.     On October 17, 2021, Kramer contacted Defendant Peter Campbell (“Campbell”)

about joining the SaucerSwap venture to assist with its social media accounts.

       19.     In addition to accepting Kramer’s offer to become a SaucerSwap venture partner,

Campbell requested that he be identified as a co-founder of SaucerSwap. Kramer agreed to

identify Campbell as a co-founder, even though Campbell was not a part of the original team

(which included Kramer, his brother Michael Kramer and Jeff Patzer).

       20.     In November 2021, Campbell pressured Kramer and his brother Michael to

remove Jeff Patzer from the venture membership. Campbell asserted, among other things, that

Jeff did not have the sufficient time to contribute to the venture. Jeff agreed to accept a

monetary payment in exchange for his SaucerSwap membership interest.

       21.     In November 2021, Kramer, his brother Michael and Campbell brought on two

additional venture members: Defendant Joseph Bergvinson (“Bergvinson”) (a/k/a Hashburglar)

and Defendant Henry He (“He”) (a/k/a Peach).

       22.     Kramer created a new social media team channel on November 4, 2021 to

facilitate communications among Kramer, his brother Michael, Campbell, He and Bergvinson for

the further development of the SaucerSwap venture.

       23.     On November 23, 2021, Campbell identified the need for a written agreement

among the venture members addressing allocations and other matters.

       24.     Around November 26, 2021, Kramer, his brother Michael and Campbell agreed to

hire Rove Lab to develop animation for the website and non-fungible token (“NFT”). Rove Lab

provided the animation for $15,000. Of that amount, Kramer contributed an initial payment of

approximately $3,500. Kramer later paid the $7,500 balance to Rove Lab.

                                                  4
           Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 5 of 10




       25.     In December 2021, Defendants Matthew DeLorenzo (“DeLorenzo”) and

Christopher Neil Davenport (“Davenport”) joined the SaucerSwap venture, along with Nicholas

Hanna. The seven members of the SaucerSwap venture agreed that their respective ownership

interests in the business – and, by extension, the anticipated NFT sale – would be as follows:

               Kramer                                 25%

               Michael Kramer (his brother)           15%

               Campbell                               27%

               Bergvinson                             22%

               Davenport                              3%

               He                                     5%

               DeLorenzo                              3%

       26.     In addition to their respective ownership interests, the seven SaucerSwap venture

members also agreed that they each would receive a certain percentage allocation of the total

240,000,000 SaucerSwap or “SAUCE” tokens. Kramer’s token allocation was to be at least

3.34% of the total SAUCE tokens, or at least 8,016,000 tokens currently valued in excess of $2.2

million.

       27.     In January 2022, the SaucerSwap venture members worked on code development,

solidity, social media, marketing, entity formation and other efforts in furtherance of the venture.

       28.     The SaucerSwap venture members, or some of them, agreed to create a business

entity through which to operate the joint venture enterprise, and on February 10, 2021, formed a

limited liability company known as Planck Epoch, LLC. The SaucerSwap members, including



                                                 5
          Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 6 of 10




Kramer, had all agreed to take the business venture live on February 22, 2022 with

SaucerSwap’s first NFT investment offering to the public.

       29.    Unbeknownst to Kramer, on February 18, 2022, Davenport also formed

Defendant Ground Zero in Maryland and registered Kramer’s “SaucerSwap” trade name with the

Maryland Department of Assessments and Taxation (“SDAT”).

       30.    Two days later, on February 20, 2022, Kramer and his brother Michael Kramer

received a document titled: “Motion of No Confidence” purporting to oust him from the

SaucerSwap venture. The “Motion of No Confidence” claims, among other things, that Kramer

engaged in “unilateral decision making beyond assumed authority.”

       31.    That same day, the other SaucerSwap members attempted to lock Kramer out of

the SaucerSwap Twitter, Instagram, and Discord accounts, as well as the SaucerSwap website.

       32.    Kramer has been able to retain the SaucerSwap Twitter account.

       33.    A few days later, the venture capital members also caused the SaucerSwap

website to be redirected to a new URL: saucerswap.finance.

       34.    The website at saucerswap.finance includes the animations purchased by Kramer

and the proprietary business plan and intellectual property conceptualized and developed by

Kramer.

       35.    Having just expelled the two founders of SaucerSwap, the remaining SaucerSwap

members announced they would be going forward with the public SaucerSwap NFT sale on

March 1, 2022 to generate revenues for the further development of the SaucerSwap venture.

       36.    The initial SaucerSwap NFT sale in fact took place on February 22, 2022.

Kramer was excluded from participating in that culminating SaucerSwap event and Kramer and

                                               6
          Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 7 of 10




his brother since have been locked out of the SaucerSwap venture by the remaining SaucerSwap

members – Bergvinson, He, Campbell, Davenport and DeLorenzo.

                                       COUNT I
                              BREACH OF FIDUCIARY DUTY
                                 (Against all Defendants)

        37.     Kramer incorporates the preceding paragraphs of this Complaint as though fully

set forth herein.

        38.     As a founding partner and 25% member of the SaucerSwap venture, Kramer is

owed fiduciary duties of loyalty and honesty by Defendants, the other SaucerSwap members.

        39.     Defendants also owe Kramer and the SaucerSwap venture the duty not to give their

personal interests priority over the best interests of Kramer and SaucerSwap.

        40.     Defendants have breached their fiduciary duties to Kramer by, among other things,

hijacking the SaucerSwap venture, including its concepts, branding materials, coding, marketing,

website, social media accounts (or some of them) for their personal use and benefit.

        41.     Defendants further breached their fiduciary duties to Kramer by excluding

Kramer from the SaucerSwap venture that he founded and proceeding with the NFT sale without

allowing Kramer to participate.

        42.     These breaches of Defendants’ fiduciary duties to Kramer have proximately caused

Kramer to incur significant monetary losses, including without limitation the loss of Kramer’s

capital contributions to the SaucerSwap venture, the loss of Kramer’s 25% equity interest in

SaucerSwap, and the loss of Kramer’s at least 3.34% SAUCE token allocation worth in excess of

$2.2 million.



                                                7
            Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 8 of 10




        WHEREFORE, Kramer demands judgment jointly and severally against Defendants of not

less than $2,700,000, plus interest and costs, and requests that the Court award such other and

further relief that it deems just and equitable.

                                           COUNT II
                                         CONVERSION
                                     (Against All Defendants)

        43.     Kramer incorporates the preceding paragraphs of this Complaint as though fully

set forth herein.

        44.     Defendants have illegally removed Kramer from the SaucerSwap venture that he

founded. In so doing, Defendants have converted for their own use to the complete exclusion of

Kramer the SaucerSwap trade name, logo, social media accounts and other intellectual property

created and developed by Kramer.

        45.     Defendants did so contrary to Kramer’s ownership rights over this intellectual

property.

        46.     Defendants did so intentionally, with malice, and/or with reckless disregard for

Kramer’s property rights for their own personal financial gain.

        47.     Defendants have refused to return this intellectual property to Kramer.

        48.     Defendants aforementioned misconduct has caused Kramer significant financial

losses and other damage.

        WHEREFORE, Kramer demands judgment jointly and severally against Defendants of not

less than $2,700,000, plus punitive damages, interest and costs, and requests that the Court award

such other and further relief that it deems just and equitable.



                                                   8
          Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 9 of 10




                                    COUNT III
                      QUANTUM MERUIT / UNJUST ENRICHMENT
                              (Against all Defendants)

        49.     Kramer incorporates the preceding paragraphs of this Complaint as though fully

set forth herein.

        50.     Defendants have converted for their own use to the exclusion of Kramer the

SaucerSwap trade name, logo, social media accounts and other intellectual property created and

developed by Kramer.

        51.     Defendants also have illegally divested Kramer of his 25% membership interest in

SaucerSwap and thereby have proportionately illegally increased their respective membership

interests in SaucerSwap.

        52.     Defednants further have illegally divestied Kramer of his at least 3.34% SAUCE

token allocation worth in excess of $2.2 million and thereby have illegally increased their

respective SAUCE token allocations proportionately.

        53.     During the course of the SaucerSwap venture, Kramer also contributed personal

funds for the furtherance of the enterprise.

        54.     On October 11, 2021, Kramer paid approximately $700 for SaucerSwap branding.

        55.     Additionally, Kramer made payments to Rove Lab totaling approximately $3,500

for SaucerSwap animations.

        56.     Kramer made these out of contributions for the benefit of Defendants and

SaucerSwap and was never reimbursed for same.

        57.     Defendants knew and appreciated that they were receiving financial benefits by

converting the intellectual property created and developed by Kramer, by illegally divesting

                                                9
         Case 1:22-cv-01085-LKG Document 1 Filed 05/04/22 Page 10 of 10




Kramer of his 25% SaucerSwap interest and his at least 3.34% SAUCE token allocation worth in

excess of $2.2 million, and by failing to reimburse Kramer for Kramer’s aforementioned capital

contributions to SaucerSwap.

        58.     Defendants’ retention of these benefits has caused Kramer significant financial

losses and other damages.

        WHEREFORE, Kramer demands judgment jointly and severally against Defendants of not

less than $2,700,000, plus interest and costs, and requests that the Court award such other and

further relief that it deems just and equitable.

                                          JURY DEMAND

        Plaintiff requests that each claim be tried before a jury to the full extent trial by jury is

allowed by law.

Date: May 4, 2022

                                                   Respectfully submitted,

                                                   /s/ Mark D. Maneche
                                                   Mark D. Maneche (Federal Bar No. 23368)
                                                   mmaneche@pklaw.com
                                                   Pessin Katz Law, P.A.
                                                   901 Dulaney Valley Road, Suite 500
                                                   Towson, Maryland 21204
                                                   410-769-6151




                                                     10
